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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )
      Plaintiff,                           )
                                           )       CRIMINAL ACTION
      v.                                   )       NO. 2:12-CR-28-RWS
                                           )
LARRY McDANIEL,                            )
                                           )
      Defendant.                           )

                        PRE-HEARING MEMORANDUM
                   IN SUPPORT OF RELEASE PENDING TRIAL

      Defendant, Larry McDaniel, was arrested on August 12 and charged with

one count of obstruction of justice pursuant to 18 U.S.C. § 1505. The facts

underlying this allegation are not seriously in dispute: McDaniel is the president of

the southeast region of the Outlaw Motorcycle Club (“OMC”). He is not alleged to

have had any involvement in any illicit drug dealing, which is the subject of

several other recent indictments in this district against other OMC members.

      Sometime in the spring of 2012, McDaniel received information that there

was an informant and possibly an undercover law enforcement agent who were

members of the OMC, or one of its affiliate clubs, the Black Pistons. McDaniel

received this information, but ignored it initially. (Preliminary Hearing p. 48, 50).

      In mid-July, 2012, however, McDaniel received the same information a

second time, this time the information included not only information about an
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informant, but also identified the FBI case agent who was in charge of the

undercover investigation. (Preliminary Hearing p. 38). McDaniel asked two of the

OMC club members to go to the Black Pistons clubhouse in Cleveland, Georgia

and close the club (Preliminary Hearing p. 34).1 The two members went into the

clubhouse in Cleveland and closed the club, explaining to two club members who

were there that the reason the club was being closed was because of the suspicion

that there was “a fed in the club” (Preliminary Hearing p. 22, 23). One of the two

members who were given this information was, in fact, the confidential informant

himself. The two individuals who went to the clubhouse in Cleveland did not

threaten any person or indicate that they were aware that there was an undercover

investigation that was ongoing. All that was known was that there was an

informant in the Black Pistons club. The clubhouse was closed and the Black

Pistons who were present were asked to turn in their patches (or vests), which they

did without incident.

      A day or two later, the confidential informant called McDaniel on the phone

(He was directed to call McDaniel by the FBI (Preliminary Hearing p. 29)). The

entire conversation was transcribed and is contained in the criminal arrest

complaint which is in the record (Doc. #1). McDaniel calmly explained that he

had received information that the caller was a confidential informant and he felt

      1
        Actually, several members of the club went to the Cleveland clubhouse,
but only two members went inside. (Preliminary Hearing p. 34).
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obligated to investigate this information. McDaniel did not threaten the informant

(even conditionally) or suggest or imply in any way whatsoever, that if the

information turned out to be true, there would be any consequences.

      That is the entire evidence relating to the charge of obstruction of justice.

The government alleges (and the recently-returned indictment charges) that

McDaniel’s conduct obstructed an ongoing FBI undercover operation.

Noteworthy, however, are these uncontested facts:

   1. There is no information known to the government that McDaniel knew that

      there was an ongoing undercover investigation. All that he knew (or was

      told by his source) was that there was an informant in the club and that the

      case agent was Mark Sewell. Whether there was an actual ongoing

      investigation or any undercover activities that were planned was never

      specifically revealed to McDaniel.

   2. Neither McDaniel, nor his colleagues who went to the clubhouse in

      Cleveland stated, or suggested that there would be consequences if the

      information about the informant turned out to be true.

   3. The members of the Black Pistons were not told that there was an

      undercover FBI operation in progress; one member (other than the

      informant) was simply told that there was information that there was an

      informant in their midst. Thus, even if McDaniel was somehow aware that


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      there was an actual undercover operation in progress, there is not a shred of

      evidence that he revealed this to anybody: not to the people he sent to the

      clubhouse in Cleveland and not to any other person.

   4. McDaniel’s conversation with the informant could not possibly have

      obstructed justice, because the informant knew that he was, in fact, the

      informant, so McDaniel’s conversation with him did not “spill the beans” or

      otherwise have any effect whatsoever on the FBI’s plans (other than to

      reveal to them the fact that McDaniel had received this information from

      some source).

   5. There is no information concerning the source of McDaniel’s information, or

      whether he engaged in any misconduct whatsoever in obtaining the

      information (i.e., a payment to the source or a law enforcement officer).

   The government’s theory is that McDaniel’s conduct resulted in the disruption

of the undercover operation, including a party that was supposed to occur the next

weekend at which the undercover agent was going to attempt to tape record more

members of the club. In essence, the government contends that McDaniel, having

received information about the informant in the Black Pistons was required to do

nothing. He could not reveal this information to any other person; he could not

take any steps to remove the informant from the club if that resulted in a disclosure

of the existence of the undercover operation. Anything he did, after receiving


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information about the existence of the informant that thwarted the government’s

effort to continue with the undercover operation would violate 18 U.S.C. § 1505,

according to the government.2

   The FBI decided to arrest McDaniel on August 12, 2012. McDaniel, at the

time, was living at the OMC clubhouse in Atlanta. He had been living in Savannah

for the past two years, but had recently been laid off his job at Diamond Trailer

Service, which provides service to the CSX Railway Company (His employer

testified at the first bond hearing, verifying these dates and his employment, First

Bond Hearing p. 66 – 68). The Clubhouse property in Atlanta consists of a

clubhouse (which has a bar, a porch, a kitchen an office with a bed in it and a

bathroom), a parking lot and across from the parking lot an apartment which has a

hallway and one bedroom.

      2
          18 U.S.C. § 1505 provides, in relevant part:
              “Whoever corruptly, or by threats or force, or by any threatening letter
              or communication influences, obstructs, or impedes or endeavors to
              influence, obstruct, or impede the due and proper administration of the
              law under which any pending proceeding is being had before any
              department or agency of the United States [shall be imprisoned up to
              five years].”
                     The defense does not concede that even if McDaniel did
              corruptly intend to interfere with an ongoing undercover operation of
              the FBI that this is a crime under § 1505, because an undercover
              operation of a law enforcement agency is not a “proceeding” as
              contemplated by this statute.




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   The agents went to the clubhouse and arrested McDaniel. They later searched

both the clubhouse and the apartment across from the parking lot. In the

apartment, a gun was found. No gun was found in the clubhouse where McDaniel

was located. Mr. McDaniel did not have a key to the apartment when he was

arrested and no key to the apartment was found in his belongings, or in the

clubhouse where he slept. Though the record is sparse on the subject of what else

was found in the two locations, the defense will proffer the following additional

facts at the hearing on September 18:

   1. McDaniel had slept in the apartment across from the parking lot perhaps one

      or two times since he moved back to Atlanta in April of 2012 (after being

      laid off at his job in Savannah. All other nights, he slept in the clubhouse

      office.3

   2. The nights he slept in the apartment were when his wife (or perhaps another

      woman) was visiting (First Bond Hearing p. 23, 27).

   3. He kept his change of clothes in the office. He kept his toiletries in the

      office. He had his blood pressure medicine in the office. His passport, his

      billfold, his vest, his laptop, his tennis shoes and his boots, his socks, his

      jeans his razor, his soap dish – all of these personal items were kept in the

      3
        The agent who testified at the First Bond Hearing did not know how often
McDaniel slept in one room or the other, but acknowledged that he slept in the
apartment (where the guns was found) when he had a woman with him, but slept
the “majority of the time” in the room in the clubhouse (First Bond Hearing p. 30).
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   office where he resided. He had a television in the office. There was a

   bathroom next to the office in the clubhouse which he used to bathe and take

   his medicine.

4. In the apartment where the gun was found, McDaniel had no toiletries, no

   personal effects, no money, no items of personal interest, no pictures, no

   medicine, no television, no laptop. There may have been some of his clothes

   strewn around the apartment, some of which may have been his, but none of

   which he wore on a regular basis and some of which may have been left

   there from the couple nights that he slept there weeks or months earlier.

5. Several other people slept in the apartment – particularly when women were

   visiting – though nobody recently “lived” for any extended time in the

   apartment.

   In addition to these facts, the government attempted to link McDaniel to the

gun (or “a” gun) through the double hearsay testimony of the FBI agent, who, at

the initial bond hearing testified that an unidentified person told the confidential

informant, who told the FBI agent that on a prior occasion, he had given a gun

to McDaniel (First Bond Hearing p. 28). However, the government has now

revealed that that “unidentified person” testified at the grand jury under oath




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  that this never occurred and he never told the informant that this occurred.4

  That “supposed” gun – the one that the informant claims that someone else told

  him was given to McDaniel by that other person – is the only gun that the FBI

  has any knowledge that McDaniel has ever possessed (First Bond Hearing p.

  31). And now we have learned that the sworn testimony is that McDaniel was

  not given that gun as claimed by the informant.

     The FBI Agent also testified at the initial bond hearing that the informant,

  who was a member of the Black Pistons for many years, had never seen

  McDaniel with a gun at any time, nor did the undercover agent who had

  “infiltrated” the Club (First Bond Hearing p. 28).

     In sum, the evidence supporting the charge that McDaniel possessed a

  firearm on August 12 is far-fetched and borders on being frivolous.

     A few other facts are important in connection with the question of bond:

  First, at the time of McDaniel’s arrest, he was fully cooperative (Preliminary

  Hearing p. 45 - 50). He explained to the arresting agent about the

  circumstances of his receipt of the information about the informant (Id.). Not

  only did he answer the questions, but he also provided additional information

  and documents, about which the agents were previously unaware (Id.;

  Preliminary Hearing p. 33, 37). He also provided to the agents the patches and

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        AUSA McKinnon provided this Brady information to undersigned counsel
in response to a Brady request on Wednesday, September 12).
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vests that were collected from the Cleveland clubhouse earlier (Preliminary

Hearing p. 35).

   Second, though McDaniel has had several prior arrests and convictions, he is

now 65 years old and his last criminal act was over thirty years ago. He was

convicted of a marijuana conspiracy which occurred in the early 1980’s. He

was a fugitive for nearly twelve years and eventually served three years in

prison for that offense in the early 1990’s. He successfully completed a period

of parole (his conviction was for a pre-Guidelines offense) and has not had any

arrests for any offense since that time. To repeat what was said above, he had

no involvement in the criminal conduct that led to the indictments of other

OMC members that are pending in this District (First Bond Hearing p. 29).

This included undercover recordings of McDaniel: The recordings show no

involvement of McDaniel in any drug transactions (First Bond Hearing p. 37).

   Magistrate Cole granted bond to McDaniel (Second Bond Hearing).

Significant conditions of release were included in the release order, all of which

were agreed to by McDaniel. The only fact not known to Magistrate Cole was

the subsequent indictment for the gun offense. Magistrate Cole knew about the

gun found in the apartment – this was the subject of testimony at the initial




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    bond hearing – but the grand jury had not yet returned an indictment for that

    offense.5

                                    CONCLUSION

       Larry McDaniel is entitled to be released on bond pending trial. He has

    agreed to wear an ankle monitor, to reside in the home of the two people who

    testified at the bond hearing and will be present on September 18. Both his

    sister and his wife will sign the bond and pledge their homes.

       The defense urges the court to affirm the decision of the Magistrate and to

    grant McDaniel’s release.

                                           Respectfully submitted,

                                           GARLAND, SAMUEL & LOEB, P.C.


                                           DONALD F. SAMUEL
                                           Georgia Bar No. 624475
3151 Maple Drive, N.E.
Atlanta, Georgia 30305
(404) 262-2225




5
  Magistrate Cole was also informed that an unidentified person had told the
informant who told the FBI agent that the person had given a gun to McDaniel. As
noted above, at the subsequent grand jury proceeding, the person testified and
denied that this ever occurred. Thus Magistrate Cole actually was under the
impression that there was more evidence linking McDaniel to the gun than actually
exists at this time. The government’s case, in other words, is weaker now than it
was when Magistrate Cole considered the issue of bond.
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UNITED STATES OF AMERICA                   )
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LARRY McDANIEL,                            )
                                           )
      Defendant.                           )

                           CERTIFICATE OF SERVICE

I hereby certify that I have this day served a copy of the foregoing PRE-HEARING

MEMORANDUMIN SUPPORT OF RELEASE PENDING TRIAL with the Clerk

of Court using the CM/ECF system which will automatically send email notification

of such filing to all counsel of record.

      This 17th day of September, 2012.




                                                    DONALD F. SAMUEL




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